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IN THE UNITED sTATEs DISTRICT cOURT am BY°"' "“'~-D‘°

FOR THE WESTERN DISTRICT OF TENNESSEE

 

wssTERN DIVISION 05 ms 23 m 6' 55
X ? ‘AI`JM iv.. GUULD
MARINO coRTEz GREEN, X CLHK U.Sl DISTH!CTCUHT
X W;D OF TN, MEW|M
Plaintiff, X
X
Vs. X No. 03-2043-D/P
X
REGIONAL' MEDICAL cENTER, X
X
Defendant. X
X

 

ORDER DENYING REGIONAL MEDICAL CENTER’S MOTION TO DISMISS

 

On January 16, 2003, plaintiff, Marino Green filed a complaint
under 42 U.S.C. 1983 against the defendant, Regional Medioal
Center. (Docket entry 1) On January 5, 2004, the defendant,
Regional Medical Center answered the complaint. (Docket entry 14)
The answer of the defendant contains a one sentence motion to
dismiss the complaint.

Construed as a motion to dismiss, defendant's answer does not
comply with Local Rule 7.2(a)(1) which requires all motions be
accompanied by a supporting memorandum of facts and law. Local
Rule 7.2(a)(l) also requires that a motion to dismiss contain a
brief statement of its bases. The Court cannot ascertain any basis
for dismissal from defendant's single sentence request.
Accordingly, the motion to dismiss is DENIED for defendant's

failure to comply with Local Rule 7.2(a)(1). The defendant may,

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after identifying a basis for dismissal and complying with the

Local Rules of Court, file a proper motion to dismiss.

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UN TED S'I'A'I'ES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:03-CV-02043 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Marino Cortez Green
600 Poplar Ave
1\/1emphis7 TN 38105

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

J ames F. Kyle

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

